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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI

PHILADELPHIA CONSOLIDATED                         )
HOLDING CORP. d/b/a PHILADELPHIA                  )
INSURANCE COMPANIES,                              )
                                                  )
        Plaintiff,                                )
                                                  )
v.                                                )      Case No.:
                                                  )
LSI-LOWERY SYSTEMS, INC.,                         )
HODELL-NATCO INDUSTRIES, INC., and                )
THE INTEGRATED BUSINESS SOLUTIONS                 )
GROUP, INC., d/b/a THE IBIS GROUP, LLC.,          )
      Defendants.                                 )

                      COMPLAINT FOR DECLARATORY JUDGMENT

        Plaintiff Philadelphia Consolidated Holding Corp., for its Complaint for Declaratory

Judgment under 28 U.S.C. §§ 2200 and 2201 and Rule 57 of the Federal Rules of Civil

Procedure, states:

                             PARTIES, JURISDICTION, AND VENUE

        1.      Plaintiff Philadelphia Consolidated Holding Corp. (“Philadelphia”) is a

corporation organized under the laws of the State of Pennsylvania, with its principal place of

business in Bala Cynwyd, Pennsylvania. Philadelphia is registered with and has been

authorized by the Missouri Department of Insurance to conduct insurance business in the

State of Missouri.
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       2.      Defendant LSI-Lowery Systems, Inc. (“LSI”), is a corporation organized and

existing under the laws of the State of Missouri, with its principal place of business in

Fenton, Missouri.

       3.      Defendant Hodell-Natco Industries, Inc. (“Hodell”), is a foreign corporation

authorized to do business in the State of Missouri and is in good standing.

       4.      Defendant The Integrated Business Solutions Group d/b/a The Ibis Group is a

corporation organized and existing under the laws of the State of Missouri, with its principal

place of business in Cleveland, Missouri.

       5.      This Court has jurisdiction under 28 U.S.C. § 1332 because the amount in

controversy exceeds Seventy-Five Thousand Dollars ($75,000), exclusive of interest and

costs, and the parties are citizens of different states.

       6.      Venue is proper in this district under 28 U.S.C. § 1391(a) because a substantial

part of the events giving rise to this claim occurred in this district.

                                      GENERAL ALLEGATIONS

       7.      Philadelphia brings this action seeking the interpretation of the insurance

policies described below and a declaration of its rights and obligations thereunder with

respect to the lawsuit filed by Hodell against LSI that LSI has tendered to Philadelphia for a

defense and indemnification.

       8.      An actual and justiciable controversy exists between Philadelphia and LSI and

Hodell concerning their respective rights and obligations under Philadelphia policy number

PHSD319209 with policy periods of April 23, 2007, to April 23, 2008 (the “2007 Policy”); and
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Philadelphia policy number PHSD319209 with policy periods of April 23, 2008, to April 23,

2009 (the “2008 Policy”).

       9.      Resolution of matters raised in this action will dispose of all issues between the

parties to the Policy and the parties with an interest in the property at issue.

       10.     All necessary and proper parties are before the Court for the matters in

controversy, and there is no other litigation between the parties concerning their rights and

obligations under the Policy.

       11.     Philadelphia has complied with all conditions precedent under the 2007 and

2008 Policies, and Philadelphia has no other adequate remedy at law.

                                     THE INSURANCE POLICIES

       12.     On or before April 19, 2007, LSI applied for professional liability insurance

with Philadelphia (the “Application”).

       13.     In the Application, LSI indicated that no “principals, partners and officers”

were aware of “any act, error, omission, unresolved job dispute or any other circumstance

that is or could be the basis for a claim under the proposed insurance.”

       14.     In the Application, LSI indicated that it had maintained professional liability

insurance continually for at least the previous three years.

       15.     Effective April 23, 2007, to April 23, 2008, Philadelphia issued a Professional

Liability Insurance Policy, being Policy No. PHSD250284 (the “2007 Policy”) to LSI. A true

and accurate copy of the 2007 Policy is attached as Exhibit 1.



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       16.    Effective April 23, 2008, to April 23, 2009, Philadelphia issued a Professional

Liability Insurance Policy, being Policy No. PHSD319209 (the “2008 Policy”) to LSI. A true

and accurate copy of the 2008 Policy is attached as Exhibit 2.

       17.    Philadelphia issued both its policies to LSI at its business address in Fenton,

Missouri.

                                 THE UNDERLYING LITIGATION

       18.    LSI is a defendant in Hodell-Natco Industries, Inc., v. LSI-Lowery Systems,

Inc., et al., No. 1:08-cv-02755-LW (N.D. Ohio), which is now pending in the United States

District Court for the Northern District of Ohio. A true and accurate copy of Hodell’s First

Amended Complaint is attached as Exhibit 3, without exhibits.

       19.    Hodell alleges that SAP America and SAP AG, its German parent company,

developed a business application program, branded as “SAP Business One.” Hodell further

alleges that LSI is a member of SAP’s “partner” program and was authorized agents and

resellers of SAP Business One.

       20.    In 2003, Hodell sought a computer software system capable of providing

integrated financial and sales management programs. Hodell sought a system that could

accommodate 80 users initially, with the potential for additional users as Hodell expanded its

business.

       21.    Hodell alleges that LSI fraudulently misrepresented SAP Business One’s

capabilities when marketing it to Hodell. In particular, Hodell claims LSI misrepresented the

number of users the system could reasonably support, its ability to implement and install the
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software effectively, and the availability of high-level and industry-specific customer support

from the system.

       22.     Hodell further alleges that LSI breached its contract and implied warranties of

merchantability by failing to provide a fully functioning software program as contemplated

in the parties’ contract.

       23.     Hodell next alleges that by failing to provide even basic and essential

functionality of SAP Business One, LSI breached its duty of ordinary care to Hodell.

       24.     Finally, Hodell alleges that to the extent LSI did not knowingly misrepresent

the capabilities of the SAP Business One software, it negligently misrepresented the

capabilities without exercising reasonable care or competence, to Hodell’s detriment.

       25.     Hodell seeks in excess of $1.5 million in actual damages for each of its claims.

       26.     LSI has requested Philadelphia to provide it a defense against Hodell’s lawsuit

under the Philadelphia policies described above.

       27.     Philadelphia has agreed to defend LSI under a reservation of rights.

                                    FACTUAL BACKGROUND

       28.     On information and belief, before April 23, 2007, LSI received notice of

deficiencies in its product and services from Hodell, such that LSI had notice of a claim or

had notice of a basis that might reasonably be expected to give rise to a claim under the

insurance provided in Philadelphia’s policies.

       29.     On or about April 25, 2007, LSI received notice of deficiencies in its product

and services from Hodell, including a calculation of damages suffered by Hodell due to LSI’s
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alleged errors, omissions, and professional negligence, such that LSI had notice of a claim or

had notice of a basis that might reasonably be expected to give rise to a claim under the

insurance provided in the 2007 Policy.

       30.     LSI did not report Hodell’s claim to Philadelphia until December 8, 2008, after

the expiration of the 2007 Policy.

               PHILADELPHIA’S 2007 PROFESSIONAL LIABILITY INSURANCE POLICY

       31.     The 2007 Professional Liability Insurance Policy contains the following

Endorsement:

       By accepting this Policy, the Insured agrees that the statements in the
       application are personal representations, that they shall be deemed material,
       and that this Policy is issued in reliance upon the truth of such
       representations.

       32.     Philadelphia’s 2007 Policy provides the following coverage:

             THIS IS A CLAIMS MADE POLICY – PLEASE READ IT CAREFULLY

       …

               I.     COVERAGE

       The Company shall pay on behalf of the Insured all sums, not exceeding the
       Limits of Liability and in excess of the applicable Deductible set forth in the
       Declarations, for which the Insured shall become legally obligated to pay as
       Damages resulting from any Claim first made against the Insured and reported
       to the Company by written notice during the Policy Period; PROVIDED
       ALWAYS THAT such Claim is by reason of a Wrongful Act committed:

               A.     During the Policy Period; or
               B.     Prior to the Policy Period and subsequent to the Retroactive
                      Date stated in Item 6 of the Declarations provided that prior to
                      the effective date of this Policy:


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                      1.     The Insured did not give notice of any such Wrongful
                             Act under any prior insurance policy; and
                      2.     The Insured had no basis to believe that such Wrongful
                             Act might reasonably be expected to give rise to a Claim
                             under this Policy.

       33.    Philadelphia’s 2007 Policy defines a “claim” as a demand received by the

insured for money, including the service of suit or institution of arbitration proceedings

involving the insured.

       34.    Philadelphia’s 2007 Policy defines a “wrongful act” as a negligent act, error, or

omission committed or alleged to have been committed by the insured or any person for

whom the insured is legally liable in the rendering of professional services.

       35.    Philadelphia’s 2007 Policy contains the following exclusions:

       V.     THIS POLICY DOES NOT APPLY TO ANY CLAIM AND CLAIM
              EXPENSESS ARISING OUT OF:

              …

              H.      any express warranties or guarantees or; the Insured assuming
                      liability under contract unless the Insured would have been
                      legally liable in the absence of such contract.

       36.    Philadelphia’s 2007 Policy contains the following conditions regarding the

reporting of a potential claim:

              B.      Notice and Claim Reporting Provisions: Notice hereunder shall
                      be given by or on behalf of the Insured in writing to the
                      Company at One Bala Plaza, Suite 100, Bala Cynwyd, PA 19004
                      Attn: Claims Department or to any Authorized Representative
                      of the Company.

                      1.     The Insured shall, as a condition precedent to the
                             obligations of the Company under this policy, give
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                      written notice to the Company as soon as practicable
                      during the Policy Period, or during the Extended
                      Reporting Period (if any), of any Claim made against the
                      Insured.

               2.     If during the Policy Period, or during the Extended
                      Reporting Period (if any), the Insured shall become
                      aware of any circumstance which could reasonably be
                      expected to give rise to a Claim, the Insured shall give
                      written notice to the Company regarding all particulars
                      of said incident as soon as practicable after you become
                      aware of said incident as soon as possible. Such written
                      notice of any circumstance must include:

                      a.     the specific Wrongful Act; and
                      b.     the Damages which have or may result from such
                             Wrongful Act; and
                      c.     the circumstances by which the Insured first
                             becomes aware of such Wrongful Act.

               Any Claim then arising out of such Wrongful Act will be
               considered to have been first made at the time of the original
               notice.

         …

         N.    Authorization Clause: By acceptance of this policy, the Insured
               agrees that the statements in the Application are its agreements
               and representations that this policy is issued in reliance upon
               the truth of such representations. This policy embodies all
               existing agreements between the Insured and the Company
               relating to this insurance.

         …

         Q.    False or Fraudulent Claims: If any Insured shall commit fraud
               in presenting any Claim as regards amounts or otherwise, this
               insurance shall become void as to such Insured form the date
               such fraudulent Claim is presented.



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       37.     Philadelphia’s 2007 Policy, as modified by Endorsement PI-PLSP-145 entitled

Computer/Technology Consultant Pro-Pak Elite, contains the following exclusion:

               D.     Any sale or defect of any non-customized commercially
                      available computer software or hardware products;

               PHILADELPHIA’S 2008 PROFESSIONAL LIABILITY INSURANCE POLICY

       38.     Philadelphia’s 2008 Professional Liability Insurance Policy contains the

following Endorsement:

       By accepting this Policy, the Insured agrees that the statements in the
       application are personal representations, that they shall be deemed material,
       and that this Policy is issued in reliance upon the truth of such
       representations.

       39.     Philadelphia’s 2008 Policy provides the following coverage:

             THIS IS A CLAIMS MADE POLICY – PLEASE READ IT CAREFULLY

       …

       I.      INSURING AGREEMENTS

               A.     Professional Liability Coverage

                      We shall pay on your behalf all sums, not exceeding the Limits
                      of Liability and in excess of the applicable Deductible set forth
                      in the Declarations, for which you shall become legally
                      obligated to pay as damages resulting from any claim first made
                      against you during the policy period or any subsequent
                      extended reporting period arising out of a wrongful act
                      committed after the retroactive date stated in Item 6. of the
                      Declarations and prior to the end of the policy period.

       40.     Philadelphia’s 2008 Policy defines a “claim” as a demand received by

you for money or services, including the service of suit or institution of arbitration


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proceedings involving you arising from any alleged wrongful act shall also include

any request to toll the statute of limitations relating to a potential claim involving an

alleged wrongful act.

       41.    Philadelphia’s 2008 Policy defines a “wrongful act” as a negligent act,

error, or omission committed or alleged to have been committed by the insured or

any person for whom the insured is legally liable in the rendering of professional

services.

       42.    Philadelphia’s 2008 Policy contains the following exclusions:

       THIS POLICY DOES NOT APPLY TO ANY CLAIM OR CLAIM EXPENSES:

              H.        any express warranties or guarantees or; the Insured assuming
                        liability under contract unless the Insured would have been
                        legally liable in the absence of such contract.
              …

              P.        arising out of, resulting from, based upon or in consequence of,
                        directly or indirectly, any wrongful act committed prior to the
                        policy period and subsequent to the retroactive date for which
                        you gave notice under any prior insurance policy or which you
                        had any basis to believe might reasonably be expected to give
                        rise to a claim under this Policy.

       43.    Philadelphia’s 2008 Policy contains the following conditions regarding

the reporting of a potential claim:

       V.     GENERAL CONDITIONS

              …

              B.        Notice and Claim Reporting Provisions:



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          Notice hereunder shall be given by you or on your behalf in writing to
          us at One Bala Plaza, Suite 100, Bala Cynwyd, PA 19004 Attn: Claims
          Department.

          1.     You shall, as a condition precedent to our obligations under this
                 policy, give written notice to us as soon as practicable during the
                 policy period, or during the Extended Reporting Period (if any),
                 of any claim made against you.

          2.     If during the policy period, or during the Extended Reporting
                 Period (if any), but not during the Automatic Extension, you
                 shall become aware of any circumstance which could reasonably
                 be expected to give rise to a claim, you shall give written notice
                 to us regarding all particulars of said incident as soon as
                 practicable after you become aware of said circumstance. Such
                 written notice of any circumstance must include:
                 a.      the specific wrongful act; and
                 b.      the damages which have or may result from such
                         wrongful act; and
                 c.      the circumstances by which you first became aware of
                         such wrongful act.

                 Any claim then arising out of such wrongful act will be
                 considered to have been first made at the time of the original
                 notice.

          …


          M.     Authorization Clause:

                 By acceptance of this policy, you agree that the statements in
                 the application are your agreements and representations and
                 that this policy is issued in reliance upon the truth of such
                 representations. This policy embodies all existing agreements
                 between you and us relating to this insurance.

          …

          P.     False or Fraudulent Claims:


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                      If any insured shall commit fraud in presenting any claim as
                      regards amounts or otherwise, this insurance shall become void
                      as to such insured form the date such fraudulent claim is
                      presented.

                              GROUNDS FOR DECLARATORY RELIEF

       44.    The Philadelphia 2007 policy affords no coverage for Hodell’s claims against

LSI because LSI, its principals, partners, and/or officers were aware of an act, error, omission,

unresolved job dispute or other circumstance that was, or could be, the basis for a claim

under the proposed insurance.

       45.    The Philadelphia 2007 policy affords no coverage because the policy is void

abinitio based on LSI’s material misrepresentation in the Application in failing to disclose

acts, errors, omissions, and unresolved job disputes occurring before the policy that was or

could have been the basis for a claim under the proposed insurance.

       46.    The Philadelphia 2007 policy affords no coverage for Hodell’s claims against

LSI because LSI failed to report a claim, a prerequisite to coverage under the claims made and

reported policy.

       47.    Neither the Philadelphia 2007 policy nor the Philadelphia 2008 policy affords

coverage for claims by Hodell relating to non-customized commercially available computer

software or hardware products provided by LSI.

       48.    The Philadelphia 2008 policy affords no coverage for Hodell’s claims against

LSI. Philadelphia’s policy provides coverage only for claims that are made and reported




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within the same policy period. Hodell made its claims before the 2008 policy effective dates

and, therefore, does not qualify for coverage under the policy.

          49.   In addition, even if Hodell’s claims were held to fall within the available

coverage under Philadelphia’s 2008 policy, which Philadelphia denies, several exclusions

would be available to bar coverage, namely, Exclusion H, excluding coverage for any express

warranties or guarantees, and Exclusion P, excluding coverage for any wrongful acts known

by the insured to present a potential claim before the policy’s effective dates.

          50.   The Philadelphia 2007 policy affords no coverage for claims by Hodell relating

to non-customized commercially available computer software or hardware products provided

by LSI.

          WHEREFORE, Plaintiff Philadelphia Consolidated Holding Corp. respectfully prays

for the following relief:

          A.    A declaratory judgment construing the terms and provisions of the 2007 or

                2008 Philadelphia insurance policies and determining the rights and

                obligations of Philadelphia, LSI, and IBIS thereunder;

          B.    A declaratory judgment that Philadelphia has no duty to provide a defense to

                LSI or IBIS for the claims of Hodell, SAP America, or SAP AG under the 2007

                or 2008 policies;

          C.    A declaratory judgment that Philadelphia has no duty to provide coverage or

                to indemnify LSI or IBIS for the claims of Hodell, SAP America, or SAP AG

                under the 2007 or 2008 policies;
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     D.    An award of Philadelphia’s attorney fees and costs; and

     E.    Such further relief as the Court may deem just and proper.

                                               BROWN & JAMES, P.C.


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